Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 1 of 40 PageID #: 16586




                      EXHIBIT 1
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 2 of 40 PageID #: 16587

      Trials@uspto.gov                                               Paper: 10
      571-272-7822                                  Entered: September 18, 2023


             UNITED STATES PATENT AND TRADEMARK OFFICE
                             ____________

               BEFORE THE PATENT TRIAL AND APPEAL BOARD
                              ____________

                            MASIMO CORPORATION,
                                  Petitioner,

                                          v.

                                   APPLE INC.,
                                   Patent Owner.
                                   ____________

                                  IPR2023-00728
                                 Patent D962,936 S

                                   ____________

      Before KEN B. BARRETT, JOSIAH C. COCKS, and
      ROBERT L. KINDER, Administrative Patent Judges.

      COCKS, Administrative Patent Judge.



                                     DECISION
                      Denying Institution of Inter Partes Review
                                   35 U.S.C. § 314
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 3 of 40 PageID #: 16588

      IPR2023-00728
      Patent D962,936 S

                                  I. INTRODUCTION

            Petitioner, Masimo Corporation (“Petitioner”), filed a Petition (Paper
      1, “Pet.”) requesting inter partes review of U.S. Patent No. D962,936 S
      (“the ’936 patent,” Ex. 1001). Patent Owner, Apple Inc. (“Patent Owner”)
      filed a Preliminary Response (Paper 8, “Prelim. Resp.”) We have authority
      under 35 U.S.C. § 314, which provides that inter partes review may not be
      instituted unless the information presented in the Petition shows that “there
      is a reasonable likelihood that the petitioner would prevail with respect to at
      least 1 of the claims challenged in the petition.” 35 U.S.C. § 314(a); see also
      37 C.F.R § 42.4(a) (“The Board institutes the trial on behalf of the
      Director.”).
            Having considered the arguments and evidence presented in the
      Petition, for the reasons discussed below, we do not institute an inter partes
      review.

                               A. Real Parties-In-Interest

            Petitioner identifies itself, Masimo Corporation, as the only real party-
      in-interest. Pet. 4. Patent Owner identifies itself, Apple Inc., as the only real
      party-in-interest. Paper 4, 1.

                                    B. Related Matters

            The parties identify Apple Inc. v. Masimo Corporation and Sound
      United, LLC, Case No. 1:22-cv-01377-MN (D. Del.). Pet. 5; Paper 4, 1.

                              C. The ’936 Patent and Claim

            In an inter partes review requested in a petition filed on or after
      November 13, 2018, we apply the same claim construction standard used in

                                             2
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 4 of 40 PageID #: 16589

      IPR2023-00728
      Patent D962,936 S

      district courts, namely that articulated in Phillips v. AWH Corp., 415 F.3d
      1303 (Fed. Cir. 2005) (en banc). See 37 C.F.R. § 42.100(b) (2019). With
      regard to design patents, it is well-settled that a design is represented better
      by an illustration than a description. Egyptian Goddess, Inc. v. Swisa, Inc.,
      543 F.3d 665, 679 (Fed. Cir. 2008) (en banc) (citing Dobson v. Dornan, 118
      U.S. 10, 14 (1886)). Although preferably a design patent claim is not
      construed by providing a detailed verbal description, it may be “helpful to
      point out . . . various features of the claimed design as they relate to the . . .
      prior art.” Id. at 679–80; cf. High Point Design LLC v. Buyers Direct, Inc.,
      730 F.3d 1301, 1314–15 (Fed. Cir. 2013) (remanding to the district court, in
      part, for a “verbal description of the claimed design to evoke a visual image
      consonant with that design”).
             The ’936 patent is titled “Electronic Device.” Ex. 1001, code (54).
      The claim recites “[t]he ornamental design for an electronic device, as
      shown and described.” Id. at code (57). The ’936 patent includes nine
      drawings. Those drawings depict various bottom, top, front, rear, left side,
      and right side views of an electronic device. Id. Additionally, the ’936
      patent states “[t]he broken lines in the figures show portions of the electronic
      device and environment that form no part of the claimed design.” Id.
      Figures 2, 4, 5, and 6 of the ’936 patent are reproduced below:




                                               3
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 5 of 40 PageID #: 16590

      IPR2023-00728
      Patent D962,936 S




            The drawings above show “a bottom rear perspective view” (Figure 2)
      of an electronic device, “a rear view” (Figure 4), “a left side view” (Figure
      5), and “a right side view” (Figure 6). Id. at code (57). We are mindful that,
                                             4
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 6 of 40 PageID #: 16591

      IPR2023-00728
      Patent D962,936 S

      given the presence of multiple broken lines representing non-claimed aspects
      of the design, it is challenging to discern what does form part of the claimed
      design from the reproduced drawings of the ’936 patent. We evaluate the
      claim further below in the context of the parties’ respective positions on
      claim construction.

            1. Petitioner’s Proposed Claim Construction

            Petitioner proposes the following by way of claim construction of the
      ’936 patent:




      Pet. 12.
            The figures above depict Figures 2 and 5 of the ’936 patent with gray
      shading in connection with “arc-shaped portions” of the electronic device.
      Pet. 11–12. In particular, Petitioner contends that “[t]he D’936 Patent
      claims the design of two arc-shaped portions (gray) protruding from the back
      of an electronic device.” Id. at 11. Of note is the understanding that, in


                                             5
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 7 of 40 PageID #: 16592

      IPR2023-00728
      Patent D962,936 S

      Petitioner’s view, the two arcs each include a “sidewall,” but no part of those
      sidewalls’ design is claimed. Id. at 13. Additionally, we understand
      Petitioner’s view to be that there is no claimed portion of the design within
      the space or gap that appears between the two arc-shaped portions. See id. at
      12.
            Moreover, as a part of its position on claim construction, Petitioner
      contends that the ’936 patent “includes numerous design elements that are
      functional and should thus be ‘factored out’ of the Challenged Claim’s
      scope.” Pet. 16 (citing Richardson v. Stanley Works, Inc., 597 F.3d 1288,
      1293–94 (Fed. Cir. 2010)). Petitioner assesses the functionality of what it
      characterizes as: (1) “convex curvature” of the “arc-shaped portions” (id. at
      16–23); (2) the “arrangement” of the “arc-shaped portions” (id. at 23–30);
      and (3) “[t]he overall circular shape of the claimed sensor design” (id. at 30–
      31). In our view, Petitioner regards essentially the entirety of the claimed
      design of the ’936 patent as being “dictated by function” such that there is
      seemingly no portion of the ’936 patent that should be afforded the
      ornamentation protection offered by a design patent. Pet. 14–34. In
      attempting to make its case in that regard, Petitioner likens the ’936 patent
      design to a commercial product, e.g., the “Apple Watch Series 4” said to be
      covered by the ’936 patent, and proceeds to discuss proposed functional
      aspects of those products. Id.
            Petitioner also, at times, makes reference to two utility patents, U.S.
      Patent No. 10,627,157 (“the ’157 patent”) (Ex. 1024) and U.S. Patent No.
      10,627,783 (“the ’783 patent”) (Ex. 1025) said to be associated with the
      design of the “Apple Watch Series 4,” and discusses proposed functional
      aspects disclosed in those patents. See, e.g., id. at 20–27.

                                             6
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 8 of 40 PageID #: 16593

      IPR2023-00728
      Patent D962,936 S

            2. Patent Owner’s Proposed Claim Construction

            For its part, Patent Owner offers the following annotated (colorized)
      figures showing what we understand to be Patent Owner’s claim
      construction:




      Prelim. Resp. 4.
            The annotated figures depict Figures 2 and 3 of the ’936 patent
      emphasizing that the figures show two arc shapes with an “outer circular
      shape” shown in blue, and portions interior to that circular shape shown in
      red. See id. at 3–4. Patent Owner characterizes the outer circular shape (in
      blue) as an “outermost continuous circle.” Id. at 4. More particularly,
      Patent Owner sets forth that “[t]he physical position of the arc shapes, and
      their elongate portions comparted to the outermost continuous circle,
      suggests a unified continuous circle, despite the arc shapes not touching each
      other. Id. Patent Owner contends that Petitioner’s proposed construction
      ignores certain prominent features, as follows: “1) the outermost continuous

                                            7
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 9 of 40 PageID #: 16594

      IPR2023-00728
      Patent D962,936 S

      circle, 2) the unified circular appearance provided by the arcs, and 3) the
      distance between the inner edges of the arcs and the outermost continuous
      circle that is small and complementary to the proportions of the other
      features.” Id. at 5. Patent Owner also submits that “[e]ach of these features
      contribute to the unique concentric circular overall appearance, and are
      significant to the ordinary designer.” Id. (citing Ex. 2001 ¶ 24).
            Patent Owner also disputes Petitioner’s view that aspects of the
      ’936 patent’s design should be “factored out” as being functional. Prelim.
      Resp. 6. For instance, Patent Owner contends the following:
            In an attempt to map the ’936 patent’s unique design to the prior
            art, Masimo relies on a construction that improperly “factored
            out” meaningful aspects of the design. Even if particular aspects
            of the design are associated with a functional purpose, they have
            ornamental contributions that cannot be excluded from the
            claimed design. Masimo’s proposal is based on legal error.
            Additionally, Masimo improperly imports purported
            functionality from a commercial embodiment, ignoring that such
            functionality is not required or mentioned by the ’936 patent, and
            ignoring the numerous alternative designs that can achieve the
            same or similar functionality.
      Id.
            Patent Owner proceeds to express at length its view as to why
      Petitioner’s position discounting the design of the ’936 patent as solely
      functional is incorrect, and that the ’936 patent includes a claimed design
      with ornamental contributions. Prelim. Resp. 7–15.

            3. Discussion

                   a) The Issue of Functional Elements in the ‘936 Patent

            We turn first to the matter of Petitioner’s proposed “factor[ing] out”
      of aspects of the claimed design under the guise of functionality. As

                                             8
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 10 of 40 PageID #:
                                   16595
    IPR2023-00728
    Patent D962,936 S

    Petitioner observes, the Court of Appeals for the Federal Circuit has
    identified multiple factors that may be considered in assessing the
    functionality of a claimed design. Pet. 11 (citing Ethicon Endo-Surgery, Inc.
    v. Covidien, Inc., 796 F.3d 1312, 1329–30 (Fed. Cir. 2015); Sport
    Dimension, Inc. v. Coleman Co., Inc., 820 F.3d 1316, 1322 (Fed. Cir.
    2016)). One central consideration is the “availability of alternative designs
    [, which is] an important—if not dispositive—factor in evaluating the legal
    functionality of a claimed design.” Ethicon, 796 F.3d at 1329–30.
          As Patent Owner points out (see, e.g., Prelim. Resp. 10–14), the
    record before us is replete with various designs for the back or rear portions
    of various electronic devices, such as watches. For instance, Patent Owner
    directs attention to Exhibits 2003 and 2004 showing designs for two types of
    an “Aries AW80 watch” and a “P11 Plus watch.” Id. at 10–13 (citing Ex.
    2003, 1, 5–6, 11, 13–16; Ex. 2004, 1–3; Ex. 2001 ¶¶ 25–30). Depictions of
    images from Exhibits 2003 and 2004 are reproduced below:




                                           9
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 11 of 40 PageID #:
                                   16596
    IPR2023-00728
    Patent D962,936 S

    Ex. 2003, 7 (above left); Ex. 2004, 3 (above right). 1
          The images reproduced above show, in-part, the rear face of the two
    types of watches noted above. The apparent electrode geometries and
    arrangements shown are, in our view, clearly distinct from the claimed
    design of the ’936 patent. We, thus, agree with Patent Owner, and its
    declarant, Mr. Lance Gordon Rake, for essentially all the reasons offered,
    that there is a different overall appearance as between the rear faces
    reproduced above and the design of the ’936 patent. See Prelim. Resp. 11–
    12; Ex. 2001 ¶¶ 25–30.
          Additionally, as also noted by Patent Owner and Mr. Rake (see
    Prelim. Resp. 13; Ex. 2001 ¶¶ 31–33), the ’157 patent identified by
    Petitioner as being associated with the ’936 patent (see Pet. 20–21, 24–27)
    includes various examples or embodiments of an electronic watch. Two of
    those examples from the ’157 patent are reproduced below:




    1
      The identified page numbering for these two exhibits is that appearing at
    the bottom right corner of each exhibit.
                                         10
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 12 of 40 PageID #:
                                   16597
    IPR2023-00728
    Patent D962,936 S

          Figures 2C and 3 reproduced above each show an example of “an
    electronic watch that incorporates a set of electrodes.” Ex. 1024, 2:34–37.
    We agree with Patent Owner and Mr. Rake that the appearance of the
    “single rear-facing electrode (Fig. 2C)” and the “half-circle and circular
    electrodes (Fig. 3) present a visual appearance that is different or distinct
    from the ’936 patent design. See Prelim. Resp. 13; Ex. 2001 ¶¶ 31–33.
          That the record amply demonstrates that there are multiple alternative
    designs for the rear face or surface of an electronic device that present a
    distinct visual appearance is, in our view, significant in undermining
    Petitioner’s assertion that the ’936 patent design should be regarded largely,
    if not entirely, as including elements that are purely functional.
          Furthermore, however, we share Patent Owner’s view that Petitioner’s
    reliance on the assessment of a commercial product that may be covered by
    the ’936 patent, e.g., the Apple Watch Series 4, based on functionality
    disclosed as to that product’s wireless charging, is problematic. As Patent
    Owner notes, “nothing in the ’936 patent tethers the claimed ornamental
    shapes to wireless charge components, or any other particular charging
    component” (see Prelim. Resp. 10), yet it is features pertaining to wireless
    charging that underscore the bulk of Petitioner’s position on functional
    elements. See, e.g., Pet. 16–24. There is considerable tension in Petitioner’s
    assessment that leans on the functionality of the features of a commercial
    product rather than evaluation based on the claimed design of the
    ’936 patent. See Berry Sterling Corp. v. Pescor Plastics, Inc., 122 F.3d
    1452, 1455 (Fed. Cir. 1997) (“[T]he court cannot use the limitations of the
    commercial embodiment of the underlying article of manufacture to impose
    limitations on the scope of the design patent.”)

                                           11
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 13 of 40 PageID #:
                                   16598
    IPR2023-00728
    Patent D962,936 S

          Further still, we observe that even if some individual elements of the
    ’936 patent may have some functional purpose, Petitioner’s piecemeal
    assessment of potentially functional aspects of individual elements of the
    design does not, in our view, adequately account for the requirement to
    evaluate the “overall appearance” of a design, i.e., “the claimed design
    viewed in its entirety.” See Ethicon, 796 F.3d at 1329 (“[w]e have also
    instructed that the overall appearance of the article—the claimed design
    viewed in its entirety—is the basis of the relevant inquiry, not the
    functionality of elements of the claimed design viewed in isolation”); see
    also Sport Dimension, Inc. v. Coleman Co., 820 F.3d 1316, 1321 (Fed. Cir.
    2016) (“While we agreed that certain elements of the device were functional,
    their functionality did not preclude those elements from having protectable
    ornamentation.”)
          Accordingly, we have considered Petitioner’s argument pertaining to
    potential functionality of aspects of the ’936 patent’s claimed design. We,
    however, decline to “factor out,” in the manner proposed by Petitioner,
    aspects that contribute to the overall appearance of that design.

                 b) Claim Construction of the ‘936 Patent

          Although the parties present some level of similarity in their
    respective constructions of the ’936 patent, i.e., that the claimed design
    incorporates two arc-shaped portions residing on a rear face of an electronic
    device, we observe that one point of disagreement centers on the proposed
    presence of an “outer continuous circle” as is advanced by Patent Owner.
    See Prelim. Resp. 4. Although we agree with Petitioner that the “sidewall”
    of the arcs does not appear to be a claimed feature, careful review of the


                                          12
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 14 of 40 PageID #:
                                   16599
    IPR2023-00728
    Patent D962,936 S

    figures of the ’936 patent, particularly Figure 4, does appear to bear out the
    conclusion that the arc-shaped portions do incorporate a continuous circle. 2
          Accordingly, we adopt the claim construction that is advanced by Patent
    Owner. See, e.g., supra § I.C.2. We note, however, that even were we to
    adopt Petitioner’s claim construction, the ultimate outcome of this
    proceeding would be the same. That is so because, for reasons discussed
    below, we conclude that Patent Owner has identified sufficient deficiencies
    in Petitioner’s proposed grounds that preclude institution of inter partes
    review irrespective of any claim construction.

                                      D. Evidence

          Petitioner relies on the following references:
          Name                       Reference                         Exhibit(s)
        Paulke    PCT Application Publication No. WO                   1006
                  2017/165532 A1 published Sept. 28, 2017
        Yuen      U.S. Patent Application Publication No.              1007
                  2019/0196411 A1 published June 27, 2019
        Fong      U.S. Design Patent No. D827,831 S issued Sept.       1008
                  4, 2018
        Bushnell  U.S. Patent Application Publication No.              1009
                  2017/0086743 A1 published Mar. 30, 2017
        Mendelson U.S. Patent No. 6,801,799 B2 issued Oct. 5,          1011
                  2004

    2
     We note that Patent Owner makes reference to Exhibit 2002 as constituting
    “supplemental drawings filed with the USPTO on December 14, 2021.”
    Prelim. Resp. 3 n.1. As the ’936 patent issued on September 6, 2022, it is
    not apparent why the supplemental drawings do not appear in the patent.
    We note that the supplemental drawings, specifically Figure 4 (see Ex. 2002,
    4), are clearer in showing that the noted design includes an outer continuous
    circle. Regardless, we conclude that it is also sufficiently apparent that the
    drawings of the ’936 patent, e.g., Figure 4, show such an outer continuous
    circle.
                                            13
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 15 of 40 PageID #:
                                   16600
    IPR2023-00728
    Patent D962,936 S

            In support of its arguments, Petitioner also relies on the Declarations
    of Joel Delman (Ex. 1003) and R. James Duckworth, Ph.D. (Ex. 1014). In
    opposing the Petition, Patent Owner relies on the Declaration of Lance
    Gordon Rake (Ex. 2001).



                      E. Proposed Grounds of Unpatentability

           Petitioner asserts the following grounds of unpatentability:
        Claims Challenged      35 U.S.C. §            Reference(s)/Basis
                1                  1033                      Paulke
                1                  103            Yuen, Mendelson, Bushnell
                1                  103                  Fong, Bushnell

                                  II. ANALYSIS
                                 A. Principles of Law

           “In addressing a claim of obviousness in a design patent, the ultimate
    inquiry is whether the claimed design would have been obvious to a designer
    of ordinary skill who designs articles of the type involved.” Apple, Inc. v.
    Samsung Elec. Co., 678 F.3d 1314, 1329 (Fed. Cir. 2012) (internal quotation
    and citations omitted); see also High Point Design, 730 F.3d at 1313 (“The
    use of an ‘ordinary observer’ standard to assess the potential obviousness of
    a design patent runs contrary to the precedent of this court and our


    3
      The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29,
    125 Stat. 284, 287–88 (2011), amended 35 U.S.C. § 103 effective on March
    16, 2013. Neither party argues, at least at this stage of the proceeding, that
    the outcome of this case would differ based on applying the pre-AIA or
    post-AIA versions of this law.
                                           14
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 16 of 40 PageID #:
                                   16601
    IPR2023-00728
    Patent D962,936 S

    predecessor court, under which the obviousness of a design patent must,
    instead, be assessed from the viewpoint of an ordinary designer.”). This
    obviousness analysis generally involves two steps: first, “one must find a
    single reference, a something in existence, the design characteristics of
    which are basically the same as the claimed design”; second, “once this
    primary reference is found, other references may be used to modify it to
    create a design that has the same overall visual appearance as the claimed
    design.” High Point Design, 730 F.3d at 1311 (internal quotation and
    citations omitted).
          In performing the first step, we must “(1) discern the correct visual
    impression created by the patented design as a whole; and (2) determine
    whether there is a single reference that creates basically the same visual
    impression.” Id. at 1312 (internal quotation and citations omitted). In the
    second step, the primary reference may be modified by secondary references
    “to create a design that has the same overall visual appearance as the
    claimed design.” Id. at 1311 (internal quotation and citations omitted).
    However, the “secondary references may only be used to modify the primary
    reference if they are ‘so related [to the primary reference] that the
    appearance of certain ornamental features in one would suggest the
    application of those features to the other.’” Durling v. Spectrum Furniture
    Co., 101 F.3d 100, 103 (Fed. Cir. 1996) (quoting In re Borden, 90 F.3d
    1570, 1575 (Fed. Cir. 1996)).
          When evaluating prior art references for purposes of determining
    patentability of ornamental designs, the focus must be on actual appearances
    and specific design characteristics rather than design concepts. In re
    Harvey, 12 F.3d 1061, 1064 (Fed. Cir. 1993); see also Apple, Inc. v.

                                           15
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 17 of 40 PageID #:
                                   16602
    IPR2023-00728
    Patent D962,936 S

    Samsung Elec. Co., 678 F.3d at 1332 (“Rather than looking to the ‘general
    concept’ of a tablet, the district court should have focused on the distinctive
    ‘visual appearances’ of the reference and the claimed design.”).
            We analyze the asserted grounds with the above-noted principles in
    mind.

                           B. The Designer of Ordinary Skill

            In connection with the designer of ordinary skill, Petitioner contends
    the following:

            For purposes of this Petition, a designer of ordinary skill in the
            art related to the D’936 Patent (“DOSA”) would have had an
            undergraduate or graduate degree in industrial/product design,
            along with at least two years of relevant work experience in the
            field of industrial/product design of portable electronic devices.
            EX1003 ¶26. A DOSA would not need to be familiar with
            electrical, biomedical, or other advanced technical concepts
            employed by such devices. Id. ¶27. Rather, the DOSA would
            consult or collaborate with a person of ordinary skill in the art
            (“POSITA”) regarding concepts outside of the DOSA’s
            expertise. Id. Here, a POSITA would have had at least a Bachelor
            or Master of Science degree in electrical or biomedical
            engineering, or a comparable engineering discipline, in
            combination with at least two years of related work experience
            involving wearable devices for noninvasively measuring health
            parameters. EX1014 ¶28.
    Pet. 31–32.
            Patent Owner contends the following: “[f]or the purposes of this case,
    a Designer of Ordinary Skill in the Art (‘DOSA’) would have a degree in
    Industrial Design or Mechanical Engineering, and at least two years of
    professional experience creating Industrial Designs of consumer products.”
    Prelim. Resp. 2 (citing Ex. 2001 ¶ 19).


                                           16
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 18 of 40 PageID #:
                                   16603
    IPR2023-00728
    Patent D962,936 S

          In assessing the parties’ views as to level of skill of a designer of
    ordinary skill in the art, we conclude that they are effectively the same.
    Indeed, the parties do not identify any material difference between the
    parties’ proposed assessments. Nevertheless, for clarity and completeness,
    we adopt Petitioner’s proposed assessment. We note, however, that were we
    to adopt Patent Owner’s assessment, the outcome of this Decision would be
    the same.

      C. Proposed Obviousness Ground of Unpatentability Based on Paulke
        Petitioner contends that the claimed design of the ’936 patent would
    have been obvious in view of Paulke. Pet. 41–54.

          1. Overview of Paulke
          Paulke is titled “Biosensor Module for Band Attachment.” Ex. 1006,
    code (54). Paulke’s Abstract is reproduced below:

          A biosensor module is provided for detecting one or more
          biosignals at a wearer's ventral wrist. The module includes a
          housing having a wrist-facing inner surface and a non-
          wristfacing outer surface, both formed of an insulative material,
          housing one or more processing units between the inner and outer
          surfaces; and one or more biosensors protruding from the wrist-
          facing inner surface and electronically coupled to the one or more
          processing units within the housing. An assembly is also
          provided, including a support member including a portion
          configured to receive a wrist band; and a biosensor module
          including a housing having a wrist-facing inner surface and a
          non-wrist-facing outer surface, the housing being curved in the
          wrist-facing direction and housing one or more processing units
          between the inner and outer surfaces, and one or more biosensors
          protruding from the wrist-facing inner surface and electronically
          coupled to the one or more processing units.
    Id. at code (57).
                                          17
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 19 of 40 PageID #:
                                   16604
    IPR2023-00728
    Patent D962,936 S

          Paulke’s Figures 1F and 1G are reproduced below:




          Figures 1F and 1G above “illustrate an exemplary biosensor module
    in accordance with some embodiments.” Id. at 3:28–29.

          2. Discussion—Paulke Based Ground
          Petitioner contends that the ’936 design would have been obvious
    over Paulke. Petitioner urges that Paulke is a proper primary, or Rosen, 4
    reference because “it is a single prior art reference with basically the same
    design characteristic as the claimed design.” Pet. 41 (citing Ex. 1006, Figs.
    1–2; Ex. 1003 ¶¶ 58–65). Patent Owner disagrees. In that regard, Patent
    Owner contends that Petition has not shown that Paulke is a proper Rosen


    4
     In the context of design patent law, a proper primary, or Rosen, reference is
    “something in existence, the design characteristics of which are basically the
    same as the claimed design.” In re Rosen, 673 F.2d 388, 391 (CCPA 1982).
                                          18
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 20 of 40 PageID #:
                                   16605
    IPR2023-00728
    Patent D962,936 S

    reference because there are multiple apparent differences between Paulke
    and the claimed design such that Paulke is not a “single reference that
    creates basically the same visual impression.” Prelim. Resp. 15 (citing
    Levitation Arts, Inc. v. Flyte LLC, PGR2018-00073, Paper 14, 16–22 (PTAB
    Jan. 17, 2019); Dorman Products Inc. v. PACCAR Inc., IPR2014-00542,
    Paper 10, 5 (PTAB Sept. 5, 2014); In re Harvey, 12 F.3d 1061, 1063 (Fed.
    Cir. 1993).
          Figure 4 of the ’936 patent (left) alongside Paulke’s Figure 1G (right)
    are reproduced below:




          The figures above show views of the rear or bottom face of each of
    the electronic device of the ’936 patent and the Paulke’s biosensor. Ex.
    1001, code (57); Ex. 1006, 14:25. Although both figures include a central
    portion with arc-shaped portions, there are some significant differences in
    the appearance of those portions. For instance, as noted by Patent Owner

                                         19
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 21 of 40 PageID #:
                                   16606
    IPR2023-00728
    Patent D962,936 S

    (see, e.g., Prelim. Resp. 21–24), the arc-shaped portions of the ’936 design
    are thinner than those of Paulke’s Figure 1G, and the spacing of the arc-
    shaped portions in the ’936 patent is noticeably smaller than in Paulke. That
    enlarged spacing in Paulke eliminates any appearance of an outer continuous
    circle formed by the outer ring of the arc-shaped portions, which is present
    in the ’936 design. In that respect, we find credible Patent Owner’s
    argument that “the Paulke arc-shaped components have the appearance of
    two separate features rather than the unified circular appearance of arcs of
    the ’936 patent. Prelim. Resp. 23 (citing Ex. 2001 ¶¶ 51–52). Additionally,
    the orientation of the arc-shaped portions in Paulke is rotated 90 degrees
    from that of the ’936 patent. 5 In our view, there is a plausible argument to
    be made that the above-noted differences establish sufficient visual
    dissimilarities to remove Paulke from being considered a proper Rosen
    reference.
          Nevertheless, even were we to assume that Paulke is a proper Rosen
    reference, for the reasons discussed below, we do not find persuasive that a
    designer of ordinary skill in the art would have made Petitioner’s proposed
    modifications to Paulke’s biosensor module, so as to arrive at the design of
    the ’936 patent.
          Petitioner seemingly acknowledges that there are at least some
    differences as between the ’936 design and Paulke’s figures with respect to
    the “size, shape or spacing of the arc-shaped portions” but concludes that
    such differences “between the design of Paulke and the claimed design
    would have been obvious changes to a DOSA, as explained below.”


    5
     We are mindful, however, that both parties analyze Paulke’s Figure 1G in a
    rotated configuration. See, e.g., Pet. 42; Prelim. Resp. 18.
                                           20
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 22 of 40 PageID #:
                                   16607
    IPR2023-00728
    Patent D962,936 S

    Pet. 44–45 (citing Ex. 1001, Fig. 4; Ex. 1006, Fig. 1G; Ex. 1003 ¶ 60).
    According to Petitioner, a designer of ordinary skill in the art would have
    been motivated to make various modifications to Paulke’s biosensor module,
    for instance: (1) “to extend the ends of [Paulke’s] arc-shaped electrodes
    closer together to maximize the arc-shaped electrodes’ surface area for
    contacting the user’s skin in use”; (2) to ensure that Paulke’s electrodes
    “were shaped to avoid interference between the charging coils of the device
    and its charger”; and (3) to make Paulke’s arc-shaped electrodes include
    certain “chamfered and vertical edges” as in the ’936 patent because such
    edges were a known design “for improving user comfort.” Pet. 50 (citing
    various portions of Ex. 1006; Ex. 1003 ¶ 70).
          As Patent Owner notes, essentially all of the multiple modifications to
    Paulke proposed by Petitioner are based on “purported utility
    considerations” rather than being based on ornamental design. See Prelim.
    Resp. 24–25. We agree with Patent Owner that such rationales for altering
    the appearance of Paulke’s biosensor module are in tension with principles
    underscoring design patent law, in that, when assessing obviousness of a
    claimed design, “the focus must be on appearances and not uses.” See id.
    (quoting In re Harvey, 12 F.3d 1061, 1064 (Fed. Cir. 1993)). Moreover, we
    simply find unpersuasive Petitioner’s view as to the types and forms of
    modifications of Paulke’s biosensor module appearance that would emerge
    to a designer of ordinary skill in the art.




                                            21
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 23 of 40 PageID #:
                                   16608
    IPR2023-00728
    Patent D962,936 S

          Petitioner’s illustrations of what it proposes as “Modified” versions of
    Paulke’s figures are reproduced below:




    Pet. 53.
          The images above represent Petitioner’s proposed creation of a
    biosensor module appearance based on modification to Paulke. See id. at 52.
    In our view, Petitioner simply does not adequately explain how the above
    images would have emerged to a designer of ordinary skill in the art in
    modifying figures shown in Paulke. The above images appear, to us, to be
    manufactured to simulate the appearance of the claimed design of the ’936
    patent rather than adhering to a design that would have been conveyed to a
    designer of ordinary skill in the art based on modification to Paulke’s
    biosensor module. Moreover, Petitioner’s created images still do not
    account for the appearance of a continuous outer circle, as the images clearly
    show substantial gaps, on each side, between the upper and lower arc-shaped
    portions.
          Accordingly, having considered Petitioner’s proposed ground of based
    on Paulke (and the proffered supporting evidence), we conclude that it is


                                          22
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 24 of 40 PageID #:
                                   16609
    IPR2023-00728
    Patent D962,936 S

    inadequate to establish a reasonable likelihood of demonstrating the
    unpatentability of the claimed design of the ’936 patent.

     D. Proposed Grounds of Unpatentability Based on Yuen, Mendelson, and
                                   Bushnell

        Petitioner contends that the claimed design of the ’936 patent would
    have been obvious in view of Yuen, Mendelson, and Bushnell. Pet. 54–75.

          1. Overview of Yuen

          Yuen is titled “Smartwatch Assemblies Having Electrocardiogram
    Sensors Photoplethysmography Sensors and Blood Pressure Monitors and
    Related Methods.” Ex. 1007, code (54). Yuen’s Abstract is reproduced
    below:
          A smartwatch assembly including an outer frame portion and an
          insert portion removably insertable into the outer frame portion.
          The insert portion may include a casing, a controller disposed
          within the casing, an electrocardiogram sensor operably coupled
          to the controller, the electrocardiogram sensor having at least two
          electrodes configured to be placed in contact with a user's skin, a
          photoplethysmography sensor operably coupled to the controller
          and oriented to face the user’s skin, and a display operably
          coupled to the controller and configured to show data related to
          measurements taken by the electrocardiogram sensor and the
          photoplethysmography sensor. The photoplethysmography
          sensor may detect trigger events in a heart function of the user,
          and, in response to the detection of a trigger event, the
          electrocardiogram sensor may initiate an electrocardiogram
          measurement of the user.
    Id. at code (57).




                                          23
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 25 of 40 PageID #:
                                   16610
    IPR2023-00728
    Patent D962,936 S

          Yuen’s Figures 1B (partial) and 3A are reproduced below:




          The partial Figure 1B above shows a “back perspective view” of a
    smartwatch assembly. Id. ¶ 9. 6 Figure 3A reproduced above on the right
    shows a “perspective view of insert portion of a smartwatch assembly” of
    Yuen. Id. ¶ 11. As shown and numbered in Figure 3A, and as shown (but
    not numbered in Fig. 1B), Yuen’s smartwatch assembly includes two
    electrodes 130, 132, each with a “general half-moon shape.” Id. ¶ 35.

          2. Overview of Mendelson

    Mendelson is titled “Pulse Oximeter and Method of Operation.” Ex. 1011,
    code (54). Mendelson’s Abstract is reproduced below:


    6
     In a similar manner as presented in the Petition (see, e.g., Pet. 57), Yuen’s
    Figure 1B is reproduced so as to focus on the appearance of watch body 102
    and omits further depiction of first and second watch band portions 104 and
    106 (reference characters not present in the reproduced portion of Yuen’s
    Figure 1B).
                                           24
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 26 of 40 PageID #:
                                   16611
    IPR2023-00728
    Patent D962,936 S

          A sensor for use in an optical measurement device and a method
          for non-invasive measurement of a blood parameter. The sensor
          includes sensor housing, a source of radiation coupled to the
          housing, and a detector assembly coupled to the housing. The
          source of radiation is adapted to emit radiation at predetermined
          frequencies. The detector assembly is adapted to detect reflected
          radiation at least one predetermined frequency and to generate
          respective signals. The signals are used to determine the
          parameter of the blood.
    Id. at code (57).
          Mendelson’s Figure 7 is reproduced below:




          Figure 7 above shows an “optical sensor” according to Mendelson’s
    invention. Id. at 8:37–38. Sensor 10 includes light sources 12a, 12b, 12c
    and an array of detectors (photodiodes) including “‘far’ detector 16” and
    “‘near’ detector 18” in concentric rings. Id. at 9:22–34.




                                          25
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 27 of 40 PageID #:
                                   16612
    IPR2023-00728
    Patent D962,936 S

          3. Overview of Bushnell

          Bushnell is titled “Sensing Contact Force Related to User Wearing an
    Electronic Device.” Ex. 1009, code (54). Bushnell’s Abstract is reproduced
    below:
          A wearable electronic device includes a body, a housing
          component, a band operable to attach the body to a body part of
          a user, and a force sensor coupled to the housing component. The
          force sensor is operable to produce a force signal based on a force
          exerted between the body part of the user and the housing
          component. A processing unit of the wearable electronic device
          receives the force signal from the force sensor and determines
          the force exerted on the housing component based thereon. The
          processing unit may use that force to determine a tightness of the
          band, determine health information for the user, adjust
          determined force exerted on a cover glass, and/or to perform
          various other actions.
    Id. at code (57).
          Bushnell’s 1A and 2B are reproduced below:




          Figure 1A above shows a wearable electronic device. Id. ¶ 21. Figure
    2A above shows a cross-sectional view of a wearable electronic device. Id.
                                          26
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 28 of 40 PageID #:
                                   16613
    IPR2023-00728
    Patent D962,936 S

    ¶ 23. Wearable electronic device 100 includes main body 101, housing
    component 104, and sensor windows 105. Id. ¶¶ 37–38.

          4. Discussion—Yuen Based Ground
          Petitioner contends that the claimed design of the ’936 patent would
    have been obvious in view of Yuen, Mendelson, and Bushnell. As with
    Paulke, Petitioner contends that Yuen is a proper primary or Rosen reference
    because “its design characteristics are basically the same as the claimed
    design” and that “any difference between Yuen and the D’936 Patent do not
    change the designs’ overall visual similarity.” Pet. 54 (citing Ex. 1007, Figs.
    1, 3–4, Ex. 1003 ¶¶ 72–80.
          Patent Owner has a different view and contends that Yuen is not a
    proper Rosen reference because of its “markedly different overall
    appearance.” Prelim. Resp. 25–26.
          We reproduce Figure 4 of the ’936 patent alongside a portion of
    Yuen’s Figure 1B:




                                          27
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 29 of 40 PageID #:
                                   16614
    IPR2023-00728
    Patent D962,936 S




          The figures above show views of the rear or back face of each of the
    electronic devices of the ’936 patent and the sensor arrangement on Yuen’s
    smartwatch. Ex. 1001, code (57); Ex. 1007 ¶ 13. We are mindful of
    Petitioner’s contention that a “primary reference and [the] claimed design
    can have differences because, if they had to be identical, ‘no obviousness
    analysis would be required.’” Pet. 54–55 (quoting MRC Innovations, Inc. v.
    Hunter Mfg., 747 F.3d 1326, 1332–33 (Fed. Cir. 2014). Yet, here the
    differences in appearance as between the claimed design and that of Yuen’s
    smartwatch are not minor in character but are, in our view, substantial.
          To that end, we agree with Patent Owner’s characterization of Yuen’s
    design as presenting “asymmetrical, squarish shapes that are spaced apart
    from one another in an opposed relationship.” Prelim. Resp. 26. Indeed, we
    note that Petitioner, itself, acknowledges that Yuen’s sensor has an
    “asymmetrically located” sensor. See Pet. 66. As compared with the

                                          28
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 30 of 40 PageID #:
                                   16615
    IPR2023-00728
    Patent D962,936 S

    symmetrical appearance of the arch-shaped portions of the ’936 patent,
    Yuen’s asymmetrical appearance creates visual distinction.
          We also agree with Patent Owner that Yuen’s “opposed shapes” on
    the back of its watch are not “arch-shaped” as in the claimed design and
    instead “have a square, off-center cut-out” and also “are meaningfully wider
    than the arches of the claimed design,” with “ends [that] are separated by a
    relatively large gap. Prelim. Resp. 27–28. Additionally, Yuen’s opposed
    shapes appear thicker than the arch-shaped portions of the ’936 patent and
    such thickness is not uniform over the extent of the shapes. We find credible
    Patent Owner’s arguments, and the testimony of its declarant, Mr. Rake, that
    Yuen’s design does not convey to a designer of ordinary skill the appearance
    of concentric circles with a “continuous outer circular shape” that is
    presented by the ’936 patent design. See, e.g., id. at 27–33; Ex. 2001 ¶¶ 59–
    65.
          In sum, we agree with Patent Owner and Mr. Rake that the rear of
    Yuen’s smartwatch presents a configuration of opposed shapes that are
    asymmetric with squarish ends and are of non-uniform thickness, and
    convey a different visual appearance than the arch-shaped portions that
    present symmetric concentric circles in the ’936 patent. Because those
    respective shapes are different in position, shape, size and relationship, we
    conclude that they are not reasonably viewed as having a similar overall
    appearance. As a result, we conclude that the designs are visually dissimilar
    such that Yuen is not “basically the same” as the claimed design of the ’936
    patent so as to be regarded as a proper Rosen reference. See In re Rosen,
    673 F.2d at 391.



                                          29
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 31 of 40 PageID #:
                                   16616
    IPR2023-00728
    Patent D962,936 S

          Nevertheless, here too, even were we to assume that Yuen is a proper
    Rosen reference, for the reasons discussed below, we do not find persuasive
    that a designer of ordinary skill in the art would have made Petitioner’s
    proposed modifications to Yuen’s smartwatch, so as to arrive at the design
    of the ’936 patent.
          Petitioner contends that a designer of ordinary skill in the art would
    have been motivated to combine various aspects of Mendelson’s sensor and
    Bushnell’s electronic device with the sensor arrangement of Yuen’s
    smartwatch to allegedly arrive at the design of the ’936 patent. See Pet. 60–
    75. According to Petitioner, Mendelson and Bushnell are each “so related”
    to Yuen so as to constitute proper secondary references. See, e.g., Pet. 61,
    63. Petitioner proceeds to select various aspects of each of Mendelson and
    Bushnell and amalgamates those various aspects to purportedly arrive at the
    design of the ’936 patent.
          Patent Owner disagrees that Mendelson and Bushnell are considered
    proper secondary references and disputes a designer of ordinary skill would
    have found the claimed design of the ’936 patent based on a combination of
    Yuen, Mendelson, and Bushnell. See Prelim. Resp. 33–39. For instance, in
    connection with Mendelson, Patent Owner contends that Mendelson and
    Yuen “have virtually no overlap in appearance.” Id. at 33. With respect to
    Bushnell, Patent Owner also contends that the reference lacks various
    “visual elements” present in Yuen. Id. at 36.




                                          30
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 32 of 40 PageID #:
                                   16617
    IPR2023-00728
    Patent D962,936 S

            Figures on which Petitioner relies from each of Yuen, Mendelson, and
    Bushnell are reproduced below:




            Yuen’s Figure 1B (partial) above shows a “back perspective view” of
    a smartwatch assembly. Ex. 1007 ¶ 9. Mendelson’s Figure 7 above shows
    an “optical sensor” according to Mendelson’s invention. Ex. 1011, 8:37–38.
    Bushnell’s Figure 1A above shows a wearable electronic device. Ex. 1009
    ¶ 21.
            We agree with Patent Owner that as evidenced from the figures above,
    there are marked differences in visual appearance as between the assemblies
    of the three references. To that end, given the visual dissimilarity between
    Mendelson and Bushnell’s sensors with Yuen’s sensor, it is difficult to
    conclude that those secondary references are “so related” such that their
    ornamental features would suggest application of those features to Yuen.
    See Durling, 101 F.3d at 103. Moreover, Petitioner’s piecemeal selection of
    various components and aspects to somehow construct an amalgamation of
    those teachings that is said to arrive at the ’936 patent design is tenuous.


                                           31
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 33 of 40 PageID #:
                                   16618
    IPR2023-00728
    Patent D962,936 S

          We reproduce below images created by Petitioner:




    Pet. 74.
          According to Petitioner, the images above provide the visual
    appearance of a sensor that allegedly results from the teachings of Yuen
    when combined with the secondary references of Mendelson and Bushnell.
    Pet. 73–74. The stark visual distinction of Petitioner’s created image and the
    appearance of any assembly or sensor of Yuen, Mendelson, and Bushnell is
    notable. In our view, Petitioner’s created images simply are not adequately
    tethered to what a designer of ordinary skill would reasonably have taken
    from the combined teachings of those references. As was the case with the
    Paulke ground discussed above, neither Petitioner, nor its declarants (Exs.
    1003, 1014), adequately explain that the above-created images result from
    the combined teachings of the references instead of merely being
    illustrations that mimics the design characteristics of the ’936 patent.
    Moreover, here too, Petitioner’s created images still do not account for the
    appearance of a continuous outer circle, as the images clearly show


                                           32
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 34 of 40 PageID #:
                                   16619
    IPR2023-00728
    Patent D962,936 S

    substantial gaps, on each side, between the upper and lower arc-shaped
    portions.
          Accordingly, we have considered the Petition and its accompanying
    evidence in connection with the ground based on Yuen (including
    Petitioner’s declarant testimony (Exs. 1003, 1014)) alongside Patent
    Owner’s arguments and evidence. On this record, we find more credible
    Patent Owner’s view (and its declarant (Ex. 2001)) that the Petition does not
    adequately account for the design of the ’936 patent based on the teachings
    of Yuen, Mendelson, and Bushnell. We conclude that the ground based on
    Yuen is inadequate to establish a reasonable likelihood of demonstrating the
    unpatentability of the claimed design of the ’936 patent.

      E. Proposed Grounds of Unpatentability Based on Fong and Bushnell
        Petitioner contends that the claimed design of the ’936 patent would
    have been obvious in view of Fong and Bushnell. Pet. 75–87.

          1. Overview of Fong
          Fong is titled “Health Monitoring Wrist Wearable.” Ex. 1008, code
    (54). Fond claims “the ornamental design of a health monitoring wrist
    wearable.” Id. at code (57).




                                         33
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 35 of 40 PageID #:
                                   16620
    IPR2023-00728
    Patent D962,936 S

          Fong’s Figures 2 and 5 are reproduced below:




          Figure 2 above shows a left perspective view of a health monitoring
    wrist wearable. Id. Figure 5 shows a left side elevation view of a health
    monitoring wrist wearable. Id.

          2. Discussion—Fong Based Ground
          Petitioner contends that the claimed design of the ’936 patent would
    have been obvious in view of Fong and Bushnell. Petitioner contends that
    Fong is a proper primary or Rosen reference because, in Petitioner’s view,
    “its design characteristics are basically the same as the claimed design.” Id.
    at 75. Patent Owner opposes that contention, urging that Fong as a
    “markedly different overall appearance” as compared to the ’936 patent.

                                          34
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 36 of 40 PageID #:
                                   16621
    IPR2023-00728
    Patent D962,936 S

    Prelim. Resp. 39–46. More specifically, Patent Owner contends that there
    are “prominent differences between Fong and the claimed design, some of
    which are wholly unaddressed by the Petition.” Id. at 39.
          We reproduce Figure 4 of the ’936 patent alongside Figure 4 of Fong:




          Figure 4 of the ’936 patent above (left) shows a rear view of an
    electronic device. Ex. 1001, code (57). Figure 4 of Fong (right) shows a
    “rear elevation view” of a health monitoring wrist wearable. Ex. 1008, code
    (57). We agree with Patent Owner that, although both figures show what
    appear to be upper and lower opposed arc-shaped (or arch-shaped) portions,
    there is visual disparity as between those portions. In particular, we agree
    that “Fong depicts wide, opposed shapes . . . separated from one another at
    the ends by a significant gap that provides an appearance of opposed,
    divided shapes.” Prelim. Resp. 40 (citing Ex. 2001 ¶ 77). Fong also

                                          35
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 37 of 40 PageID #:
                                   16622
    IPR2023-00728
    Patent D962,936 S

    includes two circular elements positioned between end each of the opposed
    shapes. We agree that “Fong’s opposed shapes are spaced apart from one
    another not only by a large space, but by additional elements interposed in
    this space that are significant to Fong’s different appearance.” Prelim. Resp.
    41–42.
          Furthermore, we also agree with Patent Owner that Fong lacks the
    visual of inner and outer concentric circles with an outer “continuous circle”
    as is present in the ’936 patent design. Id. at 43–44. Also, we discern that
    there is visual distinction in thickness, size and spacing of Fong’s opposed
    shapes as compared with the arc-shaped portion in the ’936 patent. As a
    result, we share Patent Owner’s view that Fong does not create “basically
    the same visual impression” and does not reasonably constitute a proper
    primary or Rosen reference. See id. at 46 (quoting High Point Design, 730
    F.3d at 1314).
          In any event, even assuming that Fong is a proper Rosen reference, we
    are not persuaded that the series of modifications that Petitioner proposes to
    Fong based in-part on Bushnell (see Pet. 82–86) are what would have been
    taught to a designer of ordinary skill in the art.




                                            36
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 38 of 40 PageID #:
                                   16623
    IPR2023-00728
    Patent D962,936 S

          We reproduce below Fong’s Figure 4 and Bushnell’s Figure 1A:




          Figure 4 of Fong above shows a “rear elevation view” of a health
    monitoring wrist wearable. Ex. 1008, code (57). Bushnell’s Figure 1A
    above shows a wearable electronic device. Ex. 1009 ¶ 21. Based in part on
    the above figures, Petitioner contends that a designer of ordinary skill in the
    art would have derived the following images:




                                          37
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 39 of 40 PageID #:
                                   16624
    IPR2023-00728
    Patent D962,936 S

    Pet. 85–86.
          According to Petitioner, upon combining Fong and Bushnell, a sensor
    appearing as the images above is created that allegedly has “the same overall
    visual appearance as the claimed design” of the ’936 patent. Id. Yet,
    Petitioner provides little in the way of persuasive reasoning as to why the
    modified arc-shaped portions as they appear in the image above emerge
    from any combination of Fong and Bushnell. And, in a familiar refrain,
    Petitioner’s created images again do not account for the appearance of a
    continuous outer circle, as the image clearly shows substantial gaps
    accommodating interstitial circular elements, on each side, between the
    upper and lower arc-shaped portions.
          Accordingly, having considered Petitioner’s proposed ground based
    on Fong and Bushnell (and the supporting evidence), we conclude that it is
    inadequate to establish a reasonable likelihood of demonstrating the
    unpatentability of the claimed design of the ’936 patent.

                               III. CONCLUSION
          For the reasons set forth above, we conclude that Petitioner has not
    shown a reasonable likelihood that it would prevail with respect to the
    claimed design of the ’936 patent.

                                    IV. ORDER
          It is
          ORDERED that Petitioner’s request for an inter partes review of the
    claim of the ’936 patent is denied and no trial is instituted.




                                           38
Case 1:22-cv-01377-MN-JLH Document 329-1 Filed 09/18/23 Page 40 of 40 PageID #:
                                   16625
    IPR2023-00728
    Patent D962,936 S


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                                      39
